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                          Brian P. Kinder (212332)
                        1 THE KINDER LAW GROUP, APC
                          19200 Von Karman Avenue, Fourth Floor
                        2 Irvine, California 92612
                          Phone: (949) 216-3070; Fax: (949) 216-3074
                        3 Email: bkinder@tklglaw.com
                        4 JOHN J. GULINO (160189)
                          GULINO LAW OFFICE
                        5 2107 North Broadway, Suite 306
                          Santa Ana, California 92706
                        6 Phone: (714) 745-1327; Fax: (714) 242-9042
                          Email: GulinoLawOffice@aol.com
                        7
                          Attorneys for Counterclaimants Paul Sandford,
                        8 Nick Sandford, and Grumpy Beverage, LLC
                        9
                                                           UNITED STATES DISTRICT COURT
                     10
                                                         CENTRAL DISTRICT OF CALIFORNIA
                     11
                                                               WESTERN DIVISION – SPRING
                     12
                     13 Grumpy Cat LIMITED, an Ohio                  )      Case NO:
                        Limited Liability Entity,                    )      8:15-cv-02063-DOC-DFM
                     14                                              )
                                     Plaintiff,                      )
                     15                                              )      DEFENDANTS’ PROPOSED
                              vs.                                    )      FINDINGS OF FACT AND
                     16                                              )      CONCLUSIONS OF LAW.
                        GRENADE BEVERAGE LLC, a                      )
                     17 California Limited Liability Company;        )
                        PAUL SANDFORD, an individual;                )
                     18 NICK SANDFORD, an individual; and            )
                        DOES 1-50,                                   )
                     19                                              )
                                     Defendants.                     )
                     20                                              )
                                                                     )
                     21      PAUL SANDFORD, an individual;           )
                             NICK SANDFORD, an individual; and )
                     22      GRUMPY BEVERAGE, LLC, a Texas )
                             Limited Liability Company,              )      Case filed:   December 11, 2015
                     23                                              )      FPTC Date:    December 18, 2017
                                         Counterclaimants,           )      Trial date:   January 16, 2018
                     24                                              )      Judge:        Hon. David O. Carter
                                   vs.                               )
                     25                                              )
                             GRUMPY CAT LIMITED, an Ohio             )
                     26      Limited Liability Entity; and ROES 1-5, )
                                                                     )
                     27                  Counterdefendants.          )
                                                                     )
                     28
                             DEFENDANTS’ PROPOSED FINDINGS OF FACT AND
                             CONCLUSIONS OF LAW
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                             Case No. ED CV 14-00195 MWF(Ex)
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                       1             Pursuant to the Court's Scheduling Order (Dkt. 30), Defendants and
                       2 Counterclaimants Paul Sandford and Nick Sandford and Intervening Defendant,
                       3 Counterclaimant, and Counterclaimant in Reply Defendant Grumpy Beverage, LLC
                       4 (collectively “Defendants”), hereby submit the following proposed findings of fact
                       5 and conclusions of law concerning the matters that will be tried to the court,
                       6 including, the declaratory judgment actions of non-infringement.
                       7
                       8 I.          PROPOSED FINDINGS OF FACT.
                       9             1.       Plaintiff alleges that Grumpy Cat is a viral Internet meme that
                    10 transformed a house cat named Tardar Sauce into one of the most famous cats in the
                    11 world. Compl. ¶ 13.
                    12               2.       Plaintiff alleges that it is the owner of the intellectual property rights
                    13 associated with Grumpy Cat, including a registered trademark and four registered
                    14 copyrights. Id. ¶¶ 14, 15, 16.
                    15               3.       On or around May 31, 2013, Cat Ltd., the owner of Grumpy Cat’s
                    16 intellectual property, entered into a license agreement with Defendant Grenade
                    17 Beverage that granted Grenade certain exclusive rights to use Grumpy Cat’s
                    18 copyrighted and trademarked name and image. SUF No. 1; Declaration of Brian
                    19 Kindler (“Kindler Decl.”) (Dkt. 88-2), Ex. 1 (“License Agreement”).
                    20               4.       The License Agreement contains the following definition: “’Product
                    21 Category’ shall mean non-alcoholic beverages.” Id. at ¶ 1(a).
                    22               5.       The License Agreement contains the following definition: “’Products’
                    23 shall mean a line of Grumpy cat-branded coffee products, or other additional
                    24 products within the Product Category that may, upon the Parties' mutual approval,
                    25 be marketed hereunder.” Id. at ¶ 1(b).
                    26               6.       The Grant of Rights of the License Agreement states, “Licensor hereby
                    27 grants to Licensee, and Licensee hereby accepts from Licensor, the exclusive, non-
                    28 assignable, non-sublicensable (except as set forth in Paragraphs 6[c] and 13 below),
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                       1 non-transferable right, license and privilege, solely during the Term, solely in the
                       2 Product Category of utilizing Licensor's Licensed Properties in connection with the
                       3 manufacture, advertisement, merchandising, promotion, distribution, and sale of
                       4 solely Products, in any and all media and forms of communication and through all
                       5 channels of trade and distribution throughout the Contract Territory during the Term
                       6 defined in Paragraph 3 below.” Id. at ¶ 2(a).
                       7             7.       Grumpy Beverage, LLC is the intended beneficiary under the License
                       8 Agreement.
                       9
                    10 II.           PROPOSED CONCLUSIONS OF LAW.
                    11               1.       An owner of intellectual property who grants a license to use the
                    12 intellectual property waives the right to sue the licensee for infringement and can
                    13 only sue for breach of contract. Sun Microsystems, Inc. v. Microsoft Corp., 188 F.3d
                    14 1115, 1121 (9th Cir. 1999); see also Ninth Circuit Manual of Model Jury
                    15 Instructions: Civil § 17.13 (2017) (Comments).
                    16               2.       Enforcing a license for intellectual property raises issues that lie at the
                    17 intersection of intellectual property law and contract law. Sun Microsystems, Inc. v.
                    18 Microsoft Corp., 188 F.3d 1115, 1122 (9th Cir. 1999).
                    19               3.       However, if a license is limited in scope and the licensee acts outside
                    20 the scope of the license, the licensor may sue for infringement. Id.
                    21               4.       Contractual terms that limit a license's scope are conditions, the breach
                    22 of which constitute infringement. Id. at 1120.
                    23               5.       All other license terms as covenants, the breach of which is actionable
                    24 only under contract law. Id.
                    25               6.       Courts apply general principles of contract interpretation when
                    26 interpreting the terms and scope of a licensing agreement. Miller v. Glenn Miller
                    27 Prods., Inc., 454 F.3d 975, 989 (9th Cir. 2006).
                    28
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                       1             7.       Courts distinguish between conditions and covenants according to state
                       2 contract law, to the extent consistent with federal law and policy. MDY Indus., LLC
                       3 v. Blizzard Entm't, Inc., 629 F.3d 928, 939 (9th Cir. 2010) (Citing Foad Consulting
                       4 Group v. Musil Govan Azzalino, 270 F.3d 821, 827 (9th Cir. 2001)).
                       5             8.       Wherever possible, equity construes ambiguous contract provisions as
                       6 covenants rather than conditions. MDY Indus., LLC v. Blizzard Entm't, Inc., 629
                       7 F.3d 928, 939 (9th Cir. 2010).
                       8             9.       However, if the contract is unambiguous, the court construes it
                       9 according to its terms. MDY Indus., LLC v. Blizzard Entm't, Inc., 629 F.3d 928, 939
                    10 (9th Cir. 2010).
                    11               10.      A court will not imply that a covenant is a condition unless the parties
                    12 use clear and unambiguous language. Standard Oil Co. of Cal. v. Perkins, 347 F.2d
                    13 379, 383 (9th Cir. 1965).
                    14               11.      Generally, anyone who is authorized by an intellectual property owner
                    15 to use the intellectual property in a way specified by statute is not an infringer of
                    16 intellectual property with respect to such use. Sony Corp. v. Universal City Studios,
                    17 Inc., 464 U.S. 417, 433, 78 L. Ed. 2d 574, 104 S. Ct. 774 (1984); see also Peer Int'l
                    18 Corp. v. Pausa Records, Inc., 909 F.2d 1332, 1338 (9th Cir. 1990).
                    19               12.      Where, the existence of a license is not in dispute, and only the scope
                    20 of the license is at issue, the intellectual property owner bears the burden of proving
                    21 that the defendant's use was unauthorized. Netbula, LLC v. Bindview Dev. Corp.,
                    22 516 F. Supp. 2d 1137, 1150-51 (N.D. Cal. 2007) (Citing Bourne v. Walt Disney Co.,
                    23 68 F.3d 621, 631 (2nd Cir. 1995)).
                    24               13.      Because these issues are issues of contract construction, these are issues
                    25 for the court to decide as a matter of law. Netbula, LLC v. BindView Development
                    26 Corp., 516 F.Supp.2d 1137, 1151 (N.D. Call 2007); see also Fireman's Fund Ins.
                    27 Co. v. City of Lodi, California, 302 F.3d 928, 951, n.21 (9th Cir. 2002) (the
                    28 construction of a contract is a matter of law for the Court to decide).
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                                                                         Respectfully submitted,
                       2
                             Dated: January 9, 2018                      THE KINDER LAW GROUP, APC
                       3
                       4                                                 By: /s/ Brian P. Kinder
                       5                                                     Brian P. Kinder, Esq.
                                                                             State Bar No. 212332
                       6                                                     19200 Von Karman Ave., Fourth Floor
                                                                             Irvine, California 92612
                       7                                                     Telephone: (949) 216-3070
                                                                             Facsimile: (949) 216-3074
                       8                                                     Email: bkinder@tklglaw.com

                       9                                                 IN ASSOCIATION WITH:

                    10
                                                                         GULINO LAW OFFICE
                    11
                                                                         By: /s/ John Gulino
                    12                                                       John Gulino, Esq.
                                                                             2107 North Broadway, Suite 306
                    13                                                       Santa Ana, California 92706
                                                                             Telephone: (714) 745-1327
                    14                                                       Facsimile: (714) 242-9042
                                                                             Email: GulinoLawOffice@aol.com
                    15
                                                                                Attorneys for Defendants and
                    16                                                          Counterclaimants Paul Sandford and
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                                                                                Beverage, LLC
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